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                  UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA




   UNITED STATES ex rel.                CV 20-9207 DSF (RAOx)
   JEFFREY COWAN LIND,
       Plaintiff,                       Order REMANDING Case

                    v.

   THE STATE OF CALIFORNIA, et
   al.,
        Defendants.



       To the degree that the Court can interpret Jefferey Cowan Lind’s
   filings, it appears that he has removed a criminal prosecution against
   him from the Santa Barbara Superior Court (People v. Lind,
   20CR06050). Lind has failed to establish this Court’s jurisdiction and
   it appears that there is no jurisdiction. Therefore, the case is
   REMANDED to the Superior Court of California, County of Santa
   Barbara.

      IT IS SO ORDERED.



   Date: October 16, 2020              ___________________________
                                       Dale S. Fischer
                                       United States District Judge
